                    Case 24-11985-KBO               Doc 2       Filed 09/09/24         Page 1 of 14




                I N T H E U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                        F O R T H E D I S T R I C T O F D E L AWA R E



    In re
    E D G I O , I N C . ,1                                                    Case No. 24-11985 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    EDGECAST, INC.,                                                           Case No. 24-11994 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    E D G I O I N T E R N AT I O N A L , I N C . ,                            Case No. 24-11986 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    L IMELIGHT A CQUISITION C O , I NC . ,                                    Case No. 24-11992 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    L IMELIGHT M IDCO , I NC . ,                                              Case No. 24-11990 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX




1
          e Debtors operate under the trade name Edgio and have previously used the trade names Limelight, Edgecast
       and Layer0. e Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of
       each Debtor’s federal tax identification number, are: Edgio, Inc. (7033); Edgecast Inc. (6704); Edgio International,
       Inc. (3022); Limelight AcquisitionCo, Inc. (6138); Limelight Midco, Inc. (1120); Limelight Networks VPS, Inc.
       (3438); and Mojo Merger Sub, LLC (0056). e Debtors’ service address for purposes of these Chapter 11 Cases
       is: 11811 N. Tatum Blvd., Ste. 3031, Phoenix, AZ 85028. Additional information about the Chapter 11 Cases is
       available at https://OmniManagementSolutions.com/Edgio/.




RLF1 31465443V.1
                   Case 24-11985-KBO   Doc 2   Filed 09/09/24   Page 2 of 14




 In re
 L IMELIGHT N ETWORKS VPS, I NC . ,                      Case No. 24-11988 ( )
                   Debtor.                               Chapter 11
 Tax ID No. XX-XXXXXXX

 In re
 M OJO M ERGER S UB , LLC ,                              Case No. 24-11989 ( )
                   Debtor.                               Chapter 11
 Tax ID No. XX-XXXXXXX




                                M O T I O N O F D E B TO R S
                             F O R E N T RY O F A N O R D E R
                 ( I ) D I R E C T I N G J O I N T A D M I N I S T R AT I O N
                        O F T H E D E B TO R S ’ C H A P T E R 11
              C A S E S A N D ( I I ) G R A N T I N G R E L AT E D R E L I E F




                                            -2-
RLF1 31465443v.1
                     Case 24-11985-KBO              Doc 2       Filed 09/09/24         Page 3 of 14




            Edgio, Inc. and its debtor aﬃliates in the above-captioned Chapter 11 Cases, as debtors and
debtors in possession (collectively, “Edgio” or the “Debtors”), respectfully state as follows.

                                             RELIEF REQUESTED
            1.       By this motion (the “Motion”), the Debtors seek entry of an order, (a) directing the
joint administration of the Chapter 11 Cases for procedural purposes only and (b) granting related
relief. A proposed form of order (the “Proposed Order”) is attached to this Motion as Exhibit A.

            2.       In support of joint administration, the Debtors request that the United States Bank-
ruptcy Court for the District of Delaware (the “Court”) maintain one file and one docket for all of
the jointly administered Chapter 11 Cases under the case of Edgio, Inc., Case No. 24-11985 and
that the Court administer the Chapter 11 Cases under a consolidated caption, as follows:

                 I N T H E U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                         F O R T H E D I S T R I C T O F D E L AWA R E



    In re                                                                     Case No. 24-11985 ( )
    E D G I O , I N C . , et al.,2                                            Chapter 11
                      Debtors.                                                (Jointly Administered)

            3.          e Debtors seek a determination that the foregoing caption satisfies the require-
ments set forth in section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rules 1005 and
2002(n).

            4.          e Debtors also request that the Court direct that a docket entry, substantially
similar to the following, be entered on the docket of each of the Debtors’ cases maintained by the



2
          e Debtors operate under the trade name Edgio and have previously used the trade names Limelight, Edgecast
       and Layer0. e Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of
       each Debtor’s federal tax identification number, are: Edgio, Inc. (7033); Edgecast Inc. (6704); Edgio International,
       Inc. (3022); Limelight AcquisitionCo, Inc. (6138); Limelight Midco, Inc. (1120); Limelight Networks VPS, Inc.
       (3438); and Mojo Merger Sub, LLC (0056). e Debtors’ service address for purposes of these Chapter 11 Cases
       is: 11811 N. Tatum Blvd., Ste. 3031, Phoenix, AZ 85028. Additional information about the Chapter 11 Cases is
       available at https://OmniManagementSolutions.com/Edgio/.

                                                            -3-
RLF1 31465443v.1
                   Case 24-11985-KBO          Doc 2    Filed 09/09/24      Page 4 of 14




Oﬃce of the Clerk of the Court, other than Edgio, Inc., to inform parties in interest that the
Chapter 11 Cases are jointly administered:
                   An order has been entered in accordance with rule 1015(b) of the
                   Federal Rules of Bankruptcy Procedure directing the procedural
                   consolidation and joint administration of the chapter 11 cases of
                   Edgio, Inc. and its aﬃliated debtors. All further pleadings and papers
                   shall be filed in, and all further docket entries shall be made in, the
                   docket of Edgio, Inc., Case No. 24-11985 ( ), and that docket
                   should be consulted for all matters aﬀecting this chapter 11 case.

         5.          e principal statutory bases for this Motion are sections 105(a) of the Bankruptcy
Code, Rules 1015(b) and 2002(n) of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy
Rules”), and Rules 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware (the “Local Rules”).

                                  JURISDICTION AND VENUE
         6.          e United States Bankruptcy Court for the District of Delaware (the “Court”) has
jurisdiction over this Motion pursuant to 28 U.S.C. § 1334.        is case has been referred to the Court
pursuant to 28 U.S.C. § 157(a) by the Amended Standing Order of Reference, In re Standing Order
of Reference re: Title 11 (D. Del. Feb. 29, 2012) (Sleet, C.J.).        is Motion is a core proceeding
under 28 U.S.C. § 157(b).        e Debtors consent to the Court’s entry of a final order on this Motion
if it is determined that the Court cannot otherwise enter a final order or judgment consistent with
article III of the U.S. Constitution.

         7.        Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            BACKGROUND
         8.        Edgio provides technology services that support the delivery of video and other
content through the Internet. Among a broad suite of services, Edgio runs global computer
networks that support high-speed delivery of websites, recorded video, and live-streaming for a
diverse and sophisticated base of blue-chip business and media customers.             rough its software
applications, Edgio helps many of those same customers enhance the security and performance of



                                                    -4-
RLF1 31465443v.1
                   Case 24-11985-KBO        Doc 2     Filed 09/09/24    Page 5 of 14




their websites and e-commerce platforms. Edgio employs hundreds of developers and engineers
around the world to provide these services to its customers.

         9.        On this date (the “Petition Date”), Edgio commenced these Chapter 11 Cases by
filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”). Edgio is authorized to continue operating its businesses as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Edgio has requested
that its cases be consolidated for procedural purposes only and administered jointly. No trustee,
examiner, or oﬃcial committee has been appointed in these Chapter 11 Cases.

         10.       Edgio commenced these Chapter 11 Cases to implement an expeditious process to
market and sell substantially all of its business’s assets (the “Sale Process”). In this eﬀort, Edgio
is supported by its prepetition secured lender, which has agreed to act as a stalking horse bidder in
connection with the Sale Process. Edgio believes that this Sale Process, together with an orderly
wind-down of any remaining entities, will maximize value for the benefit of all stakeholders.

         11.       For further information about Edgio, its business operations, and the circumstances
that have led to the filing of these Chapter 11 Cases, Edgio refers to Declaration of Todd Hinders
in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed
simultaneously herewith.

                                       BASIS FOR RELIEF
         12.       Bankruptcy Rule 1015(b) provides, in pertinent part, that if “two or more petitions
are pending in the same court by or against . . . a debtor and an aﬃliate, the court may order a joint
administration of the estates.” Fed. R. Bankr. P. 1015(b). Local Rule 1015-1 also provides for the
joint administration of related chapter 11 cases. Each Debtor other than Edgio, Inc., is an “aﬃliate”
of Edgio, Inc., as that term is defined under section 101(2) of the Bankruptcy Code, in that each
such Debtor is, directly or indirectly, a wholly owned subsidiary of Edgio, Inc. Accordingly, the
Bankruptcy Code authorizes this Court to administer the Debtors’ estates jointly and grant the
requested relief.



                                                  -5-
RLF1 31465443v.1
                   Case 24-11985-KBO         Doc 2    Filed 09/09/24      Page 6 of 14




         13.       Bankruptcy Rule 1015(b) promotes the fair and eﬃcient administration of multiple
cases of aﬃliated debtors while protecting the rights of individual creditors. Joint administration
of the Chapter 11 Cases will provide significant administrative convenience without harming or
aﬀecting the substantive rights of any party in interest.      e Debtors intend to file with the Court
numerous motions and applications, including the various motions and applications which have
been filed on the first day of the Chapter 11 Cases. Joint administration for procedural purposes of
these cases will avoid unnecessary delay and expense by obviating the need for the Debtors to file
duplicative motions and applications and for the Court to enter duplicative orders in each of the
Chapter 11 Cases, thereby saving the Debtors and parties in interest considerable time and expense,
as well as easing the administrative burden on the Court and the parties. By aggregating all papers
related to the Debtors under the same case caption and docket, creditors and parties in interest will
be able to access and review relevant information concerning the Debtors in one place and will
thereby be better able to keep apprised of the matters before this Court. Joint administration will
also avoid the burdensome necessity of duplicating notices to numerous creditors. Finally, super-
vision of the administrative aspects of the Chapter 11 Cases by the Oﬃce of the United States
Trustee for the District of Delaware (the “U.S. Trustee”) will be simplified by joint administration
of the cases.

         14.         e rights of creditors will not be adversely aﬀected because this Motion requests
only administrative consolidation of the Chapter 11 Cases and not substantive consolidation of the
Debtors’ estates. Accordingly, the Debtors submit that joint administration of these Chapter 11
Cases is in the best interests of the Debtors’ estates and all parties in interest.

         15.       Joint administration of interrelated chapter 11 cases is routinely approved by bank-
ruptcy courts in this jurisdiction under similar circumstances and generally is noncontroversial.
See, e.g., In re Vyaire Med., Inc., No. 24-11217 (BLS) (Bankr. D. Del. June 11, 2024) (directing
joint administration of chapter 11 cases); In re Appgate, Inc., No. 24-10956 (CTG) (Bankr. D. Del.
May 8, 2024) (same); In re Express, Inc., No. 24-10831 (KBO) (Bankr. D. Del. Apr. 23, 2024)
(same); In re Number Holdings, Inc., No. 24-10419 (JKS) (Bankr. D. Del. Apr. 9, 2024) (same);


                                                   -6-
RLF1 31465443v.1
                   Case 24-11985-KBO       Doc 2     Filed 09/09/24     Page 7 of 14




In re MVK FarmCo LLC, No. 23-11721 (LSS) (Bankr. D. Del. Oct. 17, 2023) (same); In re Yellow
Corp., No. 23-11069 (CTG) (Bankr. D. Del. Aug. 9, 2023) (same). Accordingly, the Debtors
respectfully submit that joint administration, for procedural purposes only, is in the best interest of
the Debtors, their creditors, and other parties in interest.

                                              NOTICE
         16.       Notice of this Motion will be provided to (a) the U.S. Trustee; (b) the creditors
holding the 30 largest unsecured claims, according to the list filed by the Debtors with their peti-
tions; (c) counsel to Lynrock Lake Master Fund LP (the “DIP Lender”); (d) U.S. Bank Trust Co.,
N.A., as trustee and collateral agent for the Debtors’ outstanding senior secured convertible notes
due 2027, (e) the Internal Revenue Service, (f) the Securities and Exchange Commission, (g) the
United States Attorney’s Oﬃce for the District of Delaware and all other states in which the
Debtors operate; and (h) any other person entitled to notice pursuant to Local Rule 9013-1(m).       e
Debtors submit that that the applicable notice requirements have been satisfied, and that no further
notice is required under the circumstances.



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                                                  -7-
RLF1 31465443v.1
                   Case 24-11985-KBO     Doc 2    Filed 09/09/24       Page 8 of 14




         Upon the foregoing Motion, the Debtors respectfully request that the Court (a) enter the
Proposed Order granting this Motion and (b) grant such other relief as is just and proper.

 Dated: September 9, 2024                     Respectfully submitted,
 Wilmington, Delaware
                                              /s/ Gabrielle A. Colson

                                              Mark D. Collins (No. 2981)
                                              Russell C. Silberglied (No. 3462)
                                              Brendan J. Schlauch (No. 6115)
                                              Huiqi Liu (No. 6850)
                                              Emily R. Mathews (No. 6866)
                                              Gabrielle A. Colson (No. 7179)
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                                              Proposed Co-Counsel to the
                                              Debtors and Debtors in Possession




                                               -8-
RLF1 31465443v.1
                   Case 24-11985-KBO        Doc 2    Filed 09/09/24     Page 9 of 14




                   E X H I B I T A TO J O I N T A D M I N I S T R AT I O N M O T I O N

                                       PROPOSED ORDER




RLF1 31465443v.1
                   Case 24-11985-KBO               Doc 2       Filed 09/09/24         Page 10 of 14




                I N T H E U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                        F O R T H E D I S T R I C T O F D E L AWA R E




    In re
    E D G I O , I N C . ,1                                                    Case No. 24-11985 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    EDGECAST, INC.,                                                           Case No. 24-11994 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    E D G I O I N T E R N AT I O N A L , I N C . ,                            Case No. 24-11986 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    L IMELIGHT A CQUISITION C O , I NC . ,                                    Case No. 24-11992 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX

    In re
    L IMELIGHT M IDCO , I NC . ,                                              Case No. 24-11990 ( )
                      Debtor.                                                 Chapter 11
    Tax ID No. XX-XXXXXXX



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          e Debtors operate under the trade name Edgio and have previously used the trade names Limelight, Edgecast
       and Layer0. e Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of
       each Debtor’s federal tax identification number, are: Edgio, Inc. (7033); Edgecast Inc. (6704); Edgio International,
       Inc. (3022); Limelight AcquisitionCo, Inc. (6138); Limelight Midco, Inc. (1120); Limelight Networks VPS, Inc.
       (3438); and Mojo Merger Sub, LLC (0056). e Debtors’ service address for purposes of these Chapter 11 Cases
       is: 11811 N. Tatum Blvd., Ste. 3031, Phoenix, AZ 85028. Additional information about the Chapter 11 Cases is
       available at https://OmniManagementSolutions.com/Edgio/.




RLF1 31465443v.1
                   Case 24-11985-KBO   Doc 2    Filed 09/09/24   Page 11 of 14




 In re
 L IMELIGHT N ETWORKS VPS, I NC . ,                       Case No. 24-11988 ( )
                    Debtor.                               Chapter 11
 Tax ID No. XX-XXXXXXX

 In re
 M OJO M ERGER S UB , LLC ,                               Case No. 24-11989 ( )
                    Debtor.                               Chapter 11
 Tax ID No. XX-XXXXXXX




                              ORDER (I) DIRECTING
                            J O I N T A D M I N I S T R AT I O N
                        O F T H E D E B TO R S ’ C H A P T E R 11
              C A S E S A N D ( I I ) G R A N T I N G R E L AT E D R E L I E F




                                               -2-
RLF1 31465443v.1
                   Case 24-11985-KBO           Doc 2      Filed 09/09/24        Page 12 of 14




         Upon the motion (the “Motion”),2 of the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the Debtors to (a)
direct procedural consolidation and joint administration of the Chapter 11 Cases for procedural
purposes only, and (b) grant certain related relief; and the Court having jurisdiction to decide the
Motion and to enter this Order pursuant to 28 U.S.C. § 1334; and these Chapter 11 Cases having
been referred to this Court pursuant to 28 U.S.C. § 157(a) by the Amended Standing Order of
Reference, In re Standing Order of Reference re: Title 11 (D. Del. Feb. 29, 2012) (Sleet, C.J.); and
consideration of the Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue
being proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of
the Motion having been provided consistent with the Bankruptcy Rules and the Local Rules, and
such notice being adequate and appropriate under the circumstances; and the Court having
reviewed the Motion and the First Day Declaration; and a hearing having been held to consider
the relief requested in the Motion; and the Court having determined that the legal and factual bases
set forth in the Motion and in the record establish just cause for entry of this Order; and the Court
having found that the relief requested in the Motion is in the best interests of the Debtors, their
estates, their creditors, and other parties in interest; it is hereby ORDERED that:

         1.          e Motion is granted as set forth herein.

         2.          e above-captioned Chapter 11 Cases are consolidated for procedural purposes
only and shall be jointly administered by the Court under Case No. 24-11985 (                  ).

         3.          e Debtors shall maintain, and the Clerk of the United States Bankruptcy Court
for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated
service list for these jointly administered cases.




2
    Capitalized terms used but not defined in this Order have the meanings ascribed to them in the Motion.

                                                       -3-
RLF1 31465443v.1
                    Case 24-11985-KBO              Doc 2      Filed 09/09/24        Page 13 of 14




             4.          e caption for the jointly administered cases shall read as follows:


    In re                                                                    Case No. 24-11985 ( )
    E D G I O , I N C . , et al.,3                                           Chapter 11
                       Debtors.                                              (Jointly Administered)

1              e Debtors operate under the trade name Edgio and have previously used the trade names Limelight, Edgecast
            and Layer0. e Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of
            each Debtor’s federal tax identification number, are: Edgio, Inc. (7033); Edgecast Inc. (6704); Edgio
            International, Inc. (3022); Limelight AcquisitionCo, Inc. (6138); Limelight Midco, Inc. (1120); Limelight
            Networks VPS, Inc. (3438); and Mojo Merger Sub, LLC (0056). e Debtors’ service address for purposes of
            these Chapter 11 Cases is: 11811 N. Tatum Blvd., Ste. 3031, Phoenix, AZ 85028. Additional information about
            the Chapter 11 Cases is available at https://OmniManagementSolutions.com/Edgio/.


             5.          e foregoing consolidated caption satisfies the requirements of section 342(c)(1)
of the Bankruptcy Code and Bankruptcy Rule 1005 and 2002(n).

             6.          e Debtors are authorized to amend the consolidated caption as they deem appro-
priate in light of the circumstances.
             7.       A docket entry shall be made in each of the above-captioned Chapter 11 Cases,
except the Chapter 11 Case of Edgio, Inc., substantially as follows:
                      An order has been entered in accordance with rule 1015(b) of the
                      Federal Rules of Bankruptcy Procedure directing the procedural
                      consolidation and joint administration of the chapter 11 cases of
                      Edgio, Inc. and its aﬃliated debtors. All further pleadings and papers
                      shall be filed in, and all further docket entries shall be made in, the
                      docket of Edgio, Inc., Case No. 24-11985 ( ), and that docket
                      should be consulted for all matters aﬀecting this chapter 11 case.

             8.       Nothing contained in the Motion or this Order shall be deemed or construed as
directing or otherwise eﬀecting a substantive consolidation of the Debtors or the Debtors’ estates.

             9.          e terms and conditions of this Order are immediately eﬀective and enforceable
upon its entry.




                                                           -4-
RLF1 31465443v.1
                   Case 24-11985-KBO        Doc 2    Filed 09/09/24      Page 14 of 14




         10.         e Debtors and their agents are authorized to take all steps necessary or appropri-
ate to carry out this Order.

         11.         e Court will retain exclusive jurisdiction over all matters arising from or related
to the implementation, interpretation or enforcement of this Order.




                                                    -5-
RLF1 31465443v.1
